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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      FORT MYERS DIVISION

 AUSTIN HARRISON, PAM HARRISON
 and MARK HARRISON,

                  Plaintiffs,

 v.                                                              Case No: 2:12-cv-205-FtM-38UAM

 STATE FARM FIRE & CASUALTY
 COMPANY,

                  Defendant.
                                                     /
                                                   ORDER1

         This matter comes before the Court on the Defendant State Farm Fire and

 Casualty Company's Motion for Judicial Notice and Clarification (Doc. #107) filed on

 December 17, 2013. The Plaintiffs filed their Response in Opposition (Doc. #108) on

 December 17, 2013. The Motion is now ripe for the Court’s review.

         State Farm moves the Court to take notice of Fla. Stat. § 92.525 which reads in

 pertinent part:

                  (1) When it is authorized or required by law . . . that a document be
 verified by a
                  person, the verification may be accomplished in the following manner:

                   (a) Under oath or affirmation taken or administered before an officer
                  authorized under s. 92.50 to administer oaths; or

                  (b) By the signing of the written declaration prescribed in subsection (2).

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               (2) A written declaration means the following statement: “Under penalties of
               perjury, I declare that I have read the foregoing [document] and that the
               facts stated in it are true,” followed by the signature of the person making
               the declaration . . . . The written declaration shall be printed or typed at the
               end of or immediately below the document being verified and above the
               signature of the person making the declaration.

               (3) A person who knowingly makes a false declaration under subsection (2)
               is guilty of the crime of perjury by false written declaration, a felony of the
               third degree . . .

               (4) As used in this section:

                                           ****
               (b) The term “document” means any writing including, without limitation,
               any form, application, claim, notice, tax return, inventory, affidavit,
               pleading, or paper.

               (c) The requirement that a document be verified means that the document
               must be signed or executed by a person and that the person must state
               under oath or affirm that the facts or matters stated or recited in the
               document are true, or words of that import or effect.

 Fla. Stat. § 92.525.

        In the Court’s Order denying summary judgment, the Court stated that State Farms

 initial production of the Harrisons’ insurance declaration page was technically correct but

 was not correctly sworn under oath as required by the statute. The order read “[w]hile the

 information regarding the policy limits was correct it was still not within technical

 compliance with the statute as Wilson was not sworn under oath.” (Doc. #104, p. 16).

        State Farm asks the Court to clarify or to take notice of the fact that an affirmation

 declaring information in a document can be sworn by stating “[u]nder penalty of perjury, I

 declare that I have read the foregoing document and attachments and the information stated

 therein is true and correct.” Fla. Stat. § 92.525(2). The Plaintiffs object to State Farms

 position arguing that the “under oath” means the document must be sworn before an

 individual capable issuing an oath like a notary.



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        The declarations page provided by State Farm Team Leader Wilson was signed

 by Wilson who represented “[u]nder penalty of perjury, I declare that I have read the

 foregoing document and attachments and the information stated therein is true and correct.”

 (Doc. # 49-6). This is an oath authorized by section 92.525 of the Florida Statutes. J.S.L.

 Const. Co. v. Levy, 994 So.2d 394, 399 (3d DCA 2008) (citing Fla. Stat. § 92.525(1), (2)

 providing that a document may be verified by notarized oath or affirmation or by written

 declaration stating “[u]nder penalties of perjury, I declare that I have read the foregoing

 [document] and that the facts stated in it are true”)); Battle v. Gentry, 898 So.2d 263, 264

 (Fla. 1st DCA 2005) (concluding that “a statement in which [a] claimant affirmed that the

 information contained on [a] form was true,” constitutes an oath); Theoc v. State, 832

 So.2d 261, 262 (Fla. 3d DCA 2002) (confirming that a statement made “under penalties

 of perjury” and declared to be based on facts represented as being true, is an un-notarized

 oath authorized by section 92.525); see also Fla. R. Crim. P. 3.987 (recognizing two types

 of oaths, a notarized oath signed in the presence of a notary and an “Un-notarized Oath,”

 stating “Under penalties of perjury, I declare that I have read the foregoing motion and

 that the facts sated in it are true”); State v. Shearer, 628 So.2d 1102, 1102–1103

 (Fla.1993) (concluding that for purposes of defendant's 3.850 motion, “[i]n addition to a

 notarized oath ... section 92.525 ... provides that a signed declaration can substitute for

 a notarized oath if it contains the following language: ‘Under penalties of perjury, I declare

 that I have read the foregoing [document] and that the facts stated in it are true’ ”). This

 oath is all that was necessary in this instance. Noting that Wilson’s affirmation that the

 information on the declaration page was correct was sufficient under Florida law does not

 change the Court’s decision. Although the oath may have been sufficient under the law,

 the information contained on the paperwork was still dated and contained errors regarding



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 the vehicle’s ownership and who was and was not covered under the terms of the policy.

 Thus, the Court’s ruling on State Farm’s summary judgment remains unchanged.

          State Farm also asks that the jury instructions contain a statement regarding

 Wilson’s oath and that it is correct under Fla. Stat. § 92.525.            While the Court

 acknowledges that Wilson’s statement is a proper oath under the statute, the jury

 instructions will determined during the trial in accord with the Eleventh Circuit’s

 instructions, Florida law, and discussions by counsel at the appropriate time during the

 trial.

          Accordingly, it is now ORDERED:

          The Defendant State Farm Fire and Casualty Company's Motion for Judicial Notice

 and Clarification (Doc. #107) is GRANTED in part and DENIED in part.

          (1) The Defendant State Farm Fire and Casualty Company's Motion for Judicial

             Notice and Clarification making clear that Wilson’s un-notarized oath pertaining

             to the first declarations page was sufficient under Fla. Stat. § 92.525.

          (2) The Court’s ruling on State Farm’s summary judgment remains unchanged.

          (3) The Defendant State Farm Fire and Casualty Company's Motion to include the

             requested Judicial Notice in the jury instructions is DENIED without prejudice

             to be raised at the appropriate time.

          DONE and ORDERED in Fort Myers, Florida this 19th day of December, 2013.




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